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                           IN THE UN ITED STATES DISTRICT COU RT
                            FOR THE DISTRICT OF PUERTO RICO




 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 04-0419CCC
 1) CARLOS LUIS DIAZ-DEL-VALLE
 a/k/a Pocho
 (counts I, II, III, IV, V and V I)
 2) GILBERTO MARRERO-MATOS
 (counts 1 and II)
 3) ERICK N. RAMOS-ROMAN
 (counts I and III)
 4) LINDA CARDON A-VELEZ
 (counts I and IV)
 5) CARMEN MARIA RODRIGUEZ-DE-JESUS
 (counts I and V)
 6) CARMEN IRIS CALDERON-FIGUEROA
 (counts I and VI)
 7) EDUARDO MEDINA-RODRIGUEZ
 a/k/a G allo
 (count I)
 8) NATASHA QUIÑONES
 (count I)
 9) JEIEL HERNANDEZ-DIAZ
 (count I)
 10) GLADYS RODRIGUEZ
 (count I)
 11) MICHELLE RODRIGUEZ
 (count I)
 12) ODESSA VA NTARPOO L-CORA
 (count I)
 13) MARIA M ARGARITA LAU RENCIO-CASTRO
 (count I)
 Defendants

                                         O R D E R
         Having considered the Report and Recommendation filed on April 13, 2005 (docket
entry 253) on a Rule 11 proceeding of defendant Gilberto Marrero-Matos held before
Magistrate Judge Aida M. Delgado-Colón on April 1, 2005, to which no opposition has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant Gilberto Marrero-
Matos is accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contain all elements of the
offense charged in the indictment.
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        This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since April 1, 2005. The sentencing hearing is set for July 14, 2005
at 4:30 PM.
        SO ORDERED.
        At San Juan, Puerto Rico, on April 13, 2005.



                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
